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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
JOHN HARNOIS,                              )
      Plaintiff                           )
                                          )
v.                                        )  Case No. 1:19-cv-10705-RGS
                                          )
UNIVERSITY OF MASSACHUSETTS               )
DARTMOUTH, PEYTON R. HELM,                )
CYNTHIA CUMMINGS, DEBORAH                 )
MAJEWSKI, SCOTT WEBSTER, DAVID            )
GOMES, JOHN BUCK, EMIL FIORAVANTI, )
And UNNAMED PROFESSOR,                    )
      Defendants.                         )
__________________________________________)

               NOTICE OF APPEARANCE OF MARK A. JOHNSON

      The undersigned hereby gives notice that he will be appearing on behalf of the

University of Massachusetts Dartmouth, Peyton R. Helm, Cynthia Cummings, Deborah

Majewski, Scott Webster, David Gomes, John Buck, and Emil Fioravanti.

Dated: February 25, 2020        UNIVERSITY DEFENDANTS
                                By their attorney,

                                __/s/ Mark A. Johnson___________
                                Mark A. Johnson, BBO No. 651271
                                Associate Counsel
                                University of Massachusetts
                                Office of the General Counsel
                                333 South Street
                                Shrewsbury, MA 01545
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                                majohnson@umassp.edu
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                             CERTIFICATE OF SERVICE

I affirm that I served a copy of the above document on plaintiff pro se, John Harnois, via
CM/ECF.

                                         ___/s/ Mark A. Johnson_______
                                         Mark A. Johnson




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